
75 N.Y.2d 820 (1990)
The People of the State of New York, Respondent,
v.
Moses Padro, Appellant.
Court of Appeals of the State of New York.
Argued January 4, 1990.
Decided February 8, 1990.
Myron Beldock and Lee F. Bantle for appellant.
Robert M. Morgenthau, District Attorney (Patrick J. Hynes and Donald J. Siewert of counsel), for respondent.
Concur: Chief Judge WACHTLER and Judges SIMONS, KAYE, TITONE, HANCOCK, JR., and BELLACOSA. Taking no part: Judge ALEXANDER.
Order affirmed. A postverdict motion made pursuant to CPL 330.30 is not, by itself, ordinarily sufficient to preserve a "question of law" within the meaning of CPL 470.05 (2) and inasmuch as defendant failed to make appropriate objections during trial, the points presented by defendant are not preserved for review in this court.
